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 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

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11    IN RE: SOCIAL MEDIA ADOLESCENT                              MDL No. 3047
      ADDICTION/PERSONAL INJURY
12    PRODUCTS LIABILITY LITIGATION                               CASE NO.: 4:22-md-3047

13                                                                Honorable Yvonne Gonzalez Rogers
                                                                  Honorable Thomas S. Hixson
14
      This Document Relates to:                                   [PROPOSED] ORDER CREATING
15                                                                THE GOVERNMENT ENTITY
      ALL ACTIONS                                                 SUBCOMMITTEE
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19               On January 6, Seattle School District No. 1 filed a complaint against Defendants in the

20   Western District of Washington (No. 2:23-cv-32). Since that time, numerous other school districts

21   and other government entities represented by the same and other counsel have filed similar

22   complaints against Defendants. Currently there are over 100 cases before this Court filed by

23   government entities against Defendants involving common factual questions with this

24   multidistrict litigation, with similar cases filed in other federal judicial districts but not yet

25   transferred to this MDL. Additional similar cases are anticipated to be filed in the near future.

26               Under CMO No. 2, Co-Lead Counsel have the authority to “create additional

27   subcommittees and delegate specific tasks to those subcommittees, the PSC and/or other counsel

28   in a manner to ensure that pretrial preparation for the Plaintiffs is conducted efficiently,
                                                                              [PROPOSED] ORDER CREATING THE
                                                                           GOVERNMENT ENTITY SUBCOMMITTEE
     2803966.5
                                                                                        NO. 4:22-MD-03047-YGR
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 1   economically, and effectively.” ECF No. 82 at 2, § I(A)(6); see also id. at 4, § I(C) (authorizing
 2   Co-Lead Counsel to “designate additional subcommittees”). Although Plaintiffs anticipate a
 3   significant amount of overlap in discovery, motions practice, trial preparation, and trial, given the
 4   number of existing and anticipated school district and other government entity cases, Co-Lead
 5   Counsel believe that the creation of a subcommittee with specific responsibility for these cases
 6   and the issues that are unique to them would be helpful and appropriate.
 7               Accordingly, the Court authorizes Co-Lead Counsel to establish the Government Entity
 8   Subcommittee (“GEC”) to work pursuant to and with the approval of Co-Lead Counsel:
 9               The GEC shall be comprised of the following members: Aelish Marie Baig (Robbins
10   Geller Rudman & Dowd, LLP), Thomas P. Cartmell (Wagstaff & Cartmell LLP), James E.
11   Cecchi (Carella Byrne Cecchi Brody Agnello, P.C.), Ronald E. Johnson (Hendy Johnson Vaughn
12   Emery), Derek W. Loeser (Keller Rorhrback, L.L.P.), and Anne Marie Murphy (Cotchett, Pietre
13   & McCarthy, LLP).
14               Under the overall MDL management and control of existing Co-lead Counsel, this
15   subcommittee will litigate issues unique to the school district and other governmental cases.
16   (including with regards to the claims, damages, fact discovery, expert testimony, depositions,
17   motions practice, document review, pretrial litigation, in limine motions, trials, and settlement and
18   allocation and distribution of settlement funds)
19               IT IS SO ORDERED.
20

21    DATED:
                                               HON. YVONNE GONZALEZ ROGERS
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                                                                           [PROPOSED] ORDER CREATING THE
     2803966.5
                                                     -2-                GOVERNMENT ENTITY SUBCOMMITTEE
                                                                                     NO. 4:22-MD-03047-YGR
